“Case 5:16-cv-O@NITED BI@TESDISPRICTOEURT, CENTRIST RICHOF CARFORNDA 3 Page ID #:7
CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [x] ) DEFENDANTS (Check box if you are representing yourself |] )

DONALD J. TRUMP and

KATIE JOHNSON JEFFREY E. EPSTEIN

(b) County of Residence of First Listed Plaintiff SANBERNADINO — |County of Residence of First Listed Defendant NEW YORK

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Telephone Number) If you are Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information. representing yourself, provide the same information.
KATIE JOHNSON
6634 DESERT QUEEN AVE., TWENTY NINE PALMS, CA, 92277
(760) 401-0192 UNKNOWN
NO E-MAIL OR FAX
ll. BASIS OF JURISDICTION (Place an X in one box only.) il. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
PTF DEF _ PTF DEF
1.U.S. Government [_] 3. Federal Question (U.S. Citizen of This State 1 [-] 1 [ncorporated or Principal Place =) 4 [] 4
Plaintiff Government Not a Party) of Business in this State
Citizen of Another State [[] 2 2 Incorporated.and PrincipalPlace [] 5 [J] 5
5G (ind c h of Business in Another State
2, U.S. Government 4. Diversity (Indicate Citizenship {Citizen or Subject of a Foreign Nation 6 6
Defendant of Parties in Item Ill) Foreign Country O13 O03 9 Cle C]
IV. ORIGIN (Place an X in one box only.) 6. Multi-

1. Original oO 2. Removed from O 3. Remanded from O 4, Reinstated or CO 5. Transferred from Another Ol District
Proceeding State Court Appellate Court Reopened District (Specify) Litigation

V. REQUESTED IN COMPLAINT: JURY DEMAND: [_] Yes No (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23: []Yes No [_] MONEY DEMANDED IN COMPLAINT: $ 100,000,000.00
Vi. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
42 U.S.C. ; 1985 - CONSPIRACY TO DENY CIVIL RIGHTS

VIL NATURE OF SUIT (Place an X in one box only).

[[] 375 False Claims Act ([] 110 Insurance 240 Torts to Land o poleaten nn Habeas Corpus: [| 820 Copyrights
J 776 ut Tem [J 120 Marine Liability Product 465 Other Oo $10 Motions to Vacate LJ 830 Patent

(31 USC 3725{a)) ([] 130 Miller Act [290 All Other Real CI Immigration Actions LI Sentence [_] 840 Trademark
q 400 State 140 Negotiable Propert [-] 530 General fC c

Reapportionment O Instrument 535 Death Penalty [:,]-861 HIA (1395ff)
(] 410 Antitrust 150 Recovery of ([] 370 Other Fraud co [] 862 Black Lung (923)
[[] 430 Banks and Banking L] Overpayment & CJ Airplane : .

450 C NCC Enforcement of 4 315 Airplane [-] 371 Truth in Lending }["] 540 Mandamus/Other |[7] 863 DIWC/DIWW (405 (g))
CJ Ratesiete Judgment Product Liability o 380 Other Personal |[7] 550 Civil Rights ["] 864 SSID Title XVI

. i i Property D ; iti

[] 460 Deportation [-] 151 Medicare Act go 320 Assault Libel & rope y oma O 555 Prison Condition J 865 ast (405 (g)

470 Racketeer Influ- 152 Recovery of 330 Fed. Empl ‘ 385 Property Damage ~ 560 Civil Detainee mors
CI enced & Corrupt Org. |[] Defaulted Student |[] Liability mployers) |[1 Product Liability LJ Conditions of ED
{_] 480 Consumer Credit Loan (Excl. Vet.) [[] 340 Marine = Confinement o ores > Plaintiff or
LJ 490 Cable/Sat TV Overpayment of C Crabiligy ineProduct |[] USC 158 oO 625 Drug Related oO 871 IRS-Third Party 26 USC

850 Securities/Com- Vet. Benefits 423 Withdrawal 28 Seizure of Property 21 7609
CI modities/Exchange 160 Stockholders! |L] 350 Motor Vehicle LC] usc 157 USC 881
Og 890 Other Statutory CO suits oO 350 Motor Vehicle vi —L_] 690 Other

Actions roduct Liability 7 Athar Chal Di

. 190 Other 440 Other Civil Right
[1] 891 Agricuttural Acts | Contract CO on Personal [[] 441 Voting [7] 710 Fair Labor Standards
CL] B03 Environmental 195 Contract oO 362 Personal Injury- Empl Act
3 oe dom of Inf LI product Liability Med Malpratice {C1 5 me oyment [ 720 Labor/Mgmt.
895 Freedom of Info. . ; jousing elations
196 Franchise 365 Personal Injury- .

U1 act C C1 Product Liability C1 Accommodations 1] 740 Railway Labor Act

896 Arbitration 6 445 American with .
0 [] 210Land Pharmaceutical, [7] Disabilities- (q 751 Family and Medical

899 Admin. Procedures Condemnation LI Personal Injury Employment Leave Act
[_] Act/Review of Appeal of [1] 220 Foreclosure Product Liability 446 American with oO 790 Other Labor

Agency Decision C] Litigation

gency 368 Asbestos
oO 950 Constitutionality of oO 230 Rent Lease.g Perseral Inj 791 Employee Re ng |,

State Statutes Ejectment : Prod Security ACL, Cl < vz \

Yr LTS A)

FOR OFFICE USE ONLY: Case Number: :

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CIVIL COVER SHEET

VIE, VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

from state court?

[] Yes No

If "no, " skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

QUESTION B: Isthe United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

[] Yes No

if"no, " skip to Question C. If "yes," answer
Question B.1, at right.

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

[] Yes No

If "no," skip to Question D. If "yes," answer
Question C.1, at right.

Indicate the location(s) in which 50% or

QUESTION A: Was this case removed |

reside. (Check up to two boxes, or leave blank if none of these choices apply.)

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

onl

check one of the boxes to the right

[_] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
[| Orange Southern
[_] Riverside or San Bernardino Eastern

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

NO. Continue to Question B.2.

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

mm

C.1. Do 50% or more of the plaintiffs who reside in the

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

re

YES. Your case will initially be assigned to the Southern Division.

more of plaintiffs who reside in this district

district reside in Orange Co.? ["] Enter "Southern" in response to Question £, below, and continue
from there.
check one of the boxes to the right some
[-]_ NO. Continue to Question C.2.
€.2, Do 50% or more of the plaintiffs who reside in the YES. Your case will initially be assigned to the Eastern Division.
district reside in Riverside and/or San Bernardino {[] Enter "Eastern" in response to Question E, below, and continue
Counties? (Consider the two counties together.) from there.
check one of the boxes to the right => NO. Your case will initially be assigned to the Western Division.
[_] Enter "Western" in response to Question E, below, and continue

from there.

Indicate the location(s) in which 50% or

appl
Is there at least one

[_] Yes

D.1.

Enter "Southern" in response to Questio

Enter the initial division determined by Question A, B,C, orD above: samp

district reside. (Check up to two boxes, or leave blank if none of these choices

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.

If "no," go to question D2 to the right.

more of defendants who reside in this

answer in Column A?

[X] No

n_—, below, and continue from there.

oa

S Se
nta

Barbara,

D.2. Is there at least one answer in Column B?

Yes [| No

If "yes," your case will initially be assigned to the
EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

EASTERN

["] Yes

on

‘No

So

o counties?

or San

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. CIVIL COVER SHEET

iX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [| YES

If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
NO [] YES

If yes, list case number(s):

Civil cases are related when they (check all that apply):
[| A. Arise from the same or a closely related transaction, happening, or event;
[_] B. Call for determination of the same or substantially related or similar questions of law and fact; or

[_] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
[_] A. Arise from the same or a closely related transaction, happening, or event;
[| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. Involve one or more defendants fron the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

?

Lrf r_) (\ 4 / -
X. SIGNATURE OF ATTORNEY AW \\\ _/ X \S\, Vrl\
(OR SELF-REPRESENTED LITIGANT): Mv \ AAO DATE: Mt \
a ¥ “Ne YUN ; Xv | ov ¥
Notice to Counsel/Parties: The submission ofthis Civil Cover Sihedt is required by Local Rule 3-1. This Form CV-71 and the information contained herein

neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-07 1A).

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,

861 HIA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))
All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 SSID amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.

(42 US.C. 405 (q))

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